                 Case
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                                                                THE HONORABLE ROBERT S. LASNIK
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 3
 4
 5                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 6                                        AT SEATTLE
 7
     UNITED STATES OF AMERICA,                              )    No. CR21-072RSL
 8                                                          )
                        Plaintiff,                          )
 9                                                          )    ORDER GRANTING SECOND
                   v.                                       )    UNOPPOSED MOTION TO PERMIT
10                                                          )    OUT-OF-DISTRICT TRAVEL
     CAMERON BENNETT SCOTT,                                 )
11                                                          )
                        Defendant.                          )
12                                                          )
13             THIS MATTER has come before the undersigned on Cameron Scott’s Second
14   Unopposed Motion to Permit Out-of-District Travel. Dkt. 43. The Court has considered
15   the motion and records in this case and finds Mr. Scott’s request reasonable and
16   appropriate.
17             IT IS ORDERED that Mr. Scott shall be allowed to travel to the Eastern District
18   of Washington for a single two-day, one-night trip. Mr. Scott must provide the date and
19   mode of travel, as well as the address at which he will stay overnight to Pretrial
20   Services in advance of his travel.
21   //
22   //
23   //
24   //
25   //
26   //

          ORDER GRANTING SECOND UNOPPOSED                                 FEDERAL PUBLIC DEFENDER
          MOTION TO PERMIT OUT-OF-DISTRICT                                   1601 Fifth Avenue, Suite 700
          TRAVEL                                                               Seattle, Washington 98101
          (USA v. Cameron Bennett Scott, CR21-072RSL) - 1                                 (206) 553-1100
              Case
               Case2:21-cr-00072-RSL
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 1          All of the other conditions of Mr. Scott’s bond remain in full force and effect.
 2                    24th day of November
            DONE this ____            mber 2021.
 3
 4                                                   ________________________________
                                                     _______________________________
                                                            _
                                                     ROBERT S. LASNIK
 5
                                                     UNITED STATES DISTRICT JUDGE
 6                                                   UNITED STATES MAGISTRATE JUDGE

 7   Presented by:
 8
     s/ Vanessa Pai-Thompson
 9   Assistant Federal Public Defender
     Attorney for Cameron Scott
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       ORDER GRANTING SECOND UNOPPOSED                           FEDERAL PUBLIC DEFENDER
       MOTION TO PERMIT OUT-OF-DISTRICT                             1601 Fifth Avenue, Suite 700
       TRAVEL                                                         Seattle, Washington 98101
       (USA v. Cameron Bennett Scott, CR21-072RSL) - 2                           (206) 553-1100
